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     Attorneys for Lead Plaintiff Henry Rodriguez and the
11   Proposed Class
12
                              UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
14
     DANIEL VALENTI, Individually and On              Case No.: 3:21-cv-06118-JD
15   Behalf of All Others Similarly Situated,
                                                      Hon. James Donato
16                        Plaintiffs,
                                                      REQUEST TO APPOINT SELENDY
17                 v.                                 GAY ELSBERG PLLC AS LEAD
                                                      COUNSEL
18   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION, and DOMINIC WILLIAMS,
19
                          Defendants.
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      REQUEST TO APPOINT SELENDY GAY ELSBERG PLLC AS LEAD COUNSEL – No. 3:21-cv-06118-JD
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 1           This request to appoint Selendy Gay Elsberg PLLC (“SGE”) as lead counsel is made

 2 pursuant to the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C. §§ 77z-

 3 1(a)(3)(B)(v), 78u-4(a)(3)(B)(v); the Court’s Order of May 8, 2023 that provided lead plaintiff

 4 Henry Rodriguez the opportunity to propose alternative lead counsel for the Court’s consideration,

 5 Dkt. No. 117; and the Court’s Order of August 15, 2023 that SGE “file a request and proposed

 6 order for lead counsel appointment pursuant to the PSLRA,” Dkt. No. 131. In support of his

 7 request, Rodriguez respectfully submits herewith this memorandum, the Declaration of Jordan A.

 8 Goldstein, and a proposed Order.

 9 I.        INTRODUCTION
10           The Court on December 20, 2021 appointed Henry Rodriguez lead plaintiff in this

11 securities class action against defendants Dfinity USA Research LLC (“Dfinity USA”), Dfinity

12 Foundation (the “Foundation,” together with Dfinity USA, “Dfinity”), and Dominic Williams

13 based on their unlawful sales of digital tokens called “ICP tokens.” On February 3, 2022,

14 Rodriguez and named plaintiff Daniel Valenti, through prior counsel Roche Freedman LLP

15 (“Roche Freedman”), filed an amended complaint (“AC”) in this action (Dkt. No. 45) on behalf of

16 a proposed class of all persons who purchased ICP tokens from May 10, 2021 to the present (the

17 “Class”) and two proposed subclasses.1

18           Defendants have moved to dismiss the amended complaint, and their motion has been fully

19 briefed since July 8, 2022. See Dkt. Nos. 62, 65, 68. However, the Court deferred consideration of

20 this motion after Defendants moved to disqualify Roche Freedman as lead counsel. See Dkt. Nos.

21 72, 73. Following briefing and discovery on the disqualification issue, the Court on May 8, 2023

22 withdrew its appointment of Roche Freedman as lead counsel and determined that the law firm of

23 Freedman Normand Friedland LLP (“Freedman Normand Friedland”), which had been formed by

24 certain of the former partners from Roche Freedman, would not be appointed lead counsel. Dkt.

25 No. 117, at 9. The Court’s order reiterated that Rodriguez remained lead plaintiff and held that

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27   1
     The first proposed subclass consists of all persons who purchased ICP tokens from May 10, 2021
28 to June 22, 2021. The second proposed subclass consists of all persons who purchased ICP tokens
   from May 10, 2021 to June 18, 2021. See AC ¶ 137.
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 1 Rodriguez could propose alternative lead counsel for the Court’s consideration and approval by

 2 August 7, 2023. See id. at 9–10. Following the Court’s order, Rodriguez retained SGE to represent

 3 him in this action and now requests that the Court appoint his selection of SGE as lead counsel.2

 4           The PSLRA directs the most adequate plaintiff to select and retain counsel to represent the

 5 class subject to the Court’s approval. See 15 U.S.C. §§ 77z-1(a)(3)(B)(v), 78u-4(a)(3)(B)(v).

 6 Rodriguez has selected qualified, experienced counsel—SGE—who will provide the Class with

 7 the highest caliber representation against these sophisticated defendants and their counsel. SGE

 8 has extensive experience successfully prosecuting class actions and has been appointed as lead

 9 counsel in numerous digital asset-related disputes in federal courts across the country. Moreover,

10 the firm has a track record of litigating complex financial disputes and obtaining favorable results

11 for its clients. SGE is prepared to expeditiously move forward with oral argument on the pending

12 motion to dismiss, in the event the Court grants argument, and perform all pretrial and trial

13 activities on behalf of Rodriguez and the proposed class. For these reasons, Rodriguez respectfully

14 requests that the Court appoint his selection of SGE as lead counsel.

15 II.       STATEMENT OF FACTS3

16           This case concerns the sale of crypto-assets, which are digital assets that rely on the

17 blockchain. AC ¶¶ 25, 27. The blockchain is a digital ledger of transactions that allows for the

18 secure transfer of digital assets between users across the internet. Id.

19           Williams is the founder and CEO of Dfinity USA and the founder, President, and Chief

20 Scientist of the Foundation. Id. ¶¶ 1, 18–19. Dfinity operates the “Internet Computer” network and

21 promotes and sells ICP tokens to build that network. Id. ¶¶ 34–36. ICP tokens are unregistered

22 securities as defined by federal securities laws. Id. ¶¶ 115–35.

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25   Named plaintiff Daniel Valenti has also retained SGE as counsel. The firm of Erickson Kramer
   Osborne LLP has been retained by SGE solely as local counsel, with the assent of plaintiffs, and
26 is not seeking to be appointed lead counsel.
     3
27  The below statement of facts are based upon the Amended Complaint. As discussed further in
   Part VI below, if SGE is appointed lead counsel, it intends to seek leave of the Court to amend
28 certain allegations in the Amended Complaint that SGE has been unable to verify, consistent with
   SGE’s duties under Fed. R. Civ. P. 11(b).
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 1          Beginning in 2017, Defendants started marketing a predecessor to ICP tokens (which did

 2 not yet exist at the time), privately selling over $60 million of such predecessor tokens to well-

 3 known investors and providing tokens to Dfinity personnel and the Foundation. Id. ¶¶ 36–40.

 4 Defendants widely promoted their Internet Computer network, and on May 10, 2021, they

 5 launched the network and first offered ICP tokens for sale to the public on several prominent

 6 cryptocurrency exchanges. Id. ¶¶ 41–50. Demand for ICP tokens soared, and it became one of the

 7 top-10 crypto assets by market cap. Id. ¶ 50.

 8          Soon after these listings, the price of ICP tokens crashed: after reaching $730 per token in

 9 its first hours of trading, it fell to $45 by late June 2021. Id. ¶¶ 79–81. Dfinity and its insiders took

10 steps to control the supply of ICP tokens in the lead-up to the listing on cryptocurrency exchanges,

11 did not impose vesting restrictions on itself or its insiders, and made deposits to cryptocurrency

12 exchanges in the weeks after ICP began trading. Id. ¶¶ 59–89. Defendants did not disclose such

13 actions, and in fact repeatedly made statements to the contrary, such as implying that Dfinity and

14 its insiders would be subject to vesting schedules and would not be able to “flip their positions for

15 a quick profit.” Id. ¶¶ 90–114.

16          Defendants’ sale of ICP tokens violated federal securities laws. First, Defendants violated

17 Section 5 and 12(a)(1) of the Securities Act of 1933 (“Securities Act”) because they offered and/or

18 sold ICP Tokens and failed to register such tokens with the U.S. Securities and Exchange

19 Commission. Id. ¶¶ 152–62. Second, Defendants violated Section 10(b) of the Securities Exchange

20 Act of 1934 (“Exchange Act”) and Rule 10b-5 thereunder by knowingly or recklessly making

21 materially false or misleading statements in connection with the sale of ICP tokens. Id. ¶¶ 171–96.

22 Third, Defendants violated Section 20A of the Exchange Act because they engaged in insider

23 trading of ICP tokens. Id. ¶¶ 204–12. Fourth, Defendants violated Section 10(b) of the Exchange

24 Act and Rule 10(b)(5) thereunder because they engaged in market manipulation of the ICP Tokens.

25 Id. ¶¶ 221–38. Finally, Williams is liable for each of these violations as a controlling person under

26 Section 15 of the Securities Act and Section 20(a) of the Exchange Act. Id. ¶¶ 163–70, 197–203,

27 213–220, 239–45.

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 1 III.     PROCEDURAL BACKGROUND

 2          On November 10, 2021, the Court named Rodriguez as lead plaintiff and Roche Freedman

 3 as lead counsel under the PSLRA. Dkt. No. 42. Lead plaintiff Rodriguez and named plaintiff

 4 Valenti, through Roche Freedman, subsequently filed an amended complaint on behalf of the

 5 proposed class and subclasses described above. Dkt. No. 45. Defendants moved to dismiss, Dkt.

 6 No. 62, but before the Court heard oral argument on the motion, Defendants moved to disqualify

 7 Roche Freedman, Dkt. No. 72. The Court received substantial briefing, directed the parties to

 8 engage in targeted discovery concerning the issue of Roche Freedman’s disqualification, and heard

 9 oral argument on Defendants’ motion to disqualify. Dkt. No. 117, at 1–2. The Court ultimately

10 disqualified Roche Freedman as lead counsel pursuant to Federal Rule of Civil Procedure 23(g)(4).

11 Id. The Court further concluded that representation in this action of Rodriguez by Freedman

12 Normand Friedland—a new firm consisting of many attorneys who had previously worked for

13 Roche Freedman—would not be in the best interest of the Class. Id. The Court’s ruling did not

14 affect Rodriguez’s status as lead plaintiff, and the Court provided Rodriguez until August 7, 2023

15 to propose alternative lead counsel. Id. at 10. On August 7, 2023, SGE filed a letter with the Court

16 stating that Rodriguez had retained SGE to serve as lead counsel in this action, and that the law

17 firm of Erickson Kramer Osborne LLP (“Erickson Kramer Osborne”) would act solely as local

18 counsel. Dkt. No. 120. On August 10 and 11, 2023, the Court granted pro hac vice motions for the

19 undersigned counsel from SGE to appear in this action, Dkt. Nos. 126, 128, who have also filed

20 certifications pursuant to Civil Local Rule 3-7(d), Dkt. Nos. 129, 130. Counsel from Erickson

21 Kramer Osborne have likewise filed notices of appearance and Rule 3-7(d) certifications. Dkt.

22 Nos. 118, 119, 132, 133.

23 IV.      SGE SHOULD BE APPOINTED AS LEAD COUNSEL
24          The PSLRA vests authority in the lead plaintiff to “select lead counsel for the class,”

25 “subject to approval by the Court.” Sundaram v. Freshworks Inc., 2023 WL 1819158, at *5 (N.D.

26 Cal. Feb. 8, 2023). “[I]f the lead plaintiff has made a reasonable choice of counsel, the district

27 court should generally defer to that choice.” Cohen v. U.S. Dist. Ct. for N. Dist. Of California, 586

28 F.3d 703, 712 (9th Cir. 2009). Courts approve the selection of counsel where a lead plaintiff
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 1 “provide[s] evidence demonstrating that its counsel has extensive prior experience in prosecuting

 2 similar actions.” Westley v. Oclaro, Inc., 2011 WL 4079178, at *3 (N.D. Cal. Sept. 12, 2011).

 3            SGE is qualified, experienced, and capable of effectively prosecuting this class action on

 4 behalf of Rodriguez and the Class.

 5            SGE has substantial experience in cases involving crypto-assets, complex financial

 6 transactions, and class actions. SGE’s attorneys have litigated the entire spectrum of complex

 7 financial matters—from residential mortgage-backed securities to reinsurance contracts to credit

 8 default swaps—securing trial and appellate victories and numerous favorable settlements for their

 9 clients.

10            In the last decade, SGE lawyers have recovered tens of billions of dollars for their clients

11 and have served as class counsel in several high-profile actions. For example, SGE recently

12 obtained a $145 million settlement on behalf of a class of investors in Allianz mutual funds, Knox

13 County Pension & Retirement Board v. Allianz Global Investors U.S. LLC, Index No. 651233/2021

14 (Sup. Ct. N.Y. Cty.). SGE also represented a class of public servants against loan servicer Navient

15 and successfully defended the district court’s final approval of settlement from objections on

16 appeal through a denial of certiorari to the U.S. Supreme Court. See Hyland v. Navient Corp., No.

17 18-cv-9031-DLC, 2020 WL 6554826 (S.D.N.Y. Oct. 9, 2020), aff’d, 48 F.4th 110 (2d Cir. 2022),

18 cert. denied sub nom., 143 S. Ct. 1747. That settlement delivered better and more accurate

19 information to borrowers and provided for the creation of a nonprofit organization to counsel

20 borrowers. See id.

21            SGE has also been appointed under the PSLRA as lead counsel in multiple matters

22 involving crypto-assets. Those cases include Underwood v. Coinbase Global, Inc., No. 1:21-cv-

23 8353 (S.D.N.Y.); Anderson v. Binance, No. 1:20-cv-02803-ALC (S.D.N.Y); Hardin v. Tron, No.

24 1:20-cv-02804-VSB (S.D.N.Y.); and Williams v. KuCoin, No. 1:20-cv-02806-GBD (S.D.N.Y.)—

25 all of which, like this action, alleged violations of securities laws based on the sale of unregistered

26 crypto-securities.

27            In addition, SGE has been appointed as interim class co-counsel in another large crypto-

28 asset class action, In re Tether and Bitfinex Crypto Asset Litigation, No. 1:19-cv-09236-KPF
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 1 (S.D.N.Y.), in which the district court selected SGE over numerous other counsel, and—like this

 2 Court—terminated Roche Freedman as class counsel. In that litigation, SGE represents the

 3 plaintiffs in alleging that Bitfinex, a prominent crypto-exchange, and Tether, a prominent crypto-

 4 asset issuer, worked with major crypto-exchanges Bittrex and Poloniex to manipulate the market

 5 for crypto-assets in violation of various federal and state laws. On September 28, 2021, the district

 6 court in Tether denied a motion to dismiss the plaintiffs’ claims, and SGE is litigating the matter

 7 in discovery.

 8           And, most recently, SGE has filed a class action against Jump Trading and the president of

 9 its cryptocurrency arm, alleging that those defendants engaged in a billion dollar-plus scheme to

10 manipulate the market price of the crypto-assets UST and aUST. See Kim v. Jump Trading, LLC,

11 No. 1:23-cv-02921 (N.D. Ill.).

12           Accordingly, Rodriguez respectfully submits that SGE, by virtue of its expertise and

13 success in litigating complex matters, and crypto matters in particular, is uniquely qualified to act

14 as lead counsel in this litigation and will provide the Class with the highest caliber of

15 representation. A further description of SGE’s qualifications is set forth at Exhibit A to the

16 accompanying Declaration of Jordan A. Goldstein (“Goldstein Decl.”).

17 V.        SGE’s PAST ROLE AS CO-COUNSEL WITH ROCHE FREEDMAN IN OTHER
             ACTIONS SHOULD NOT DISQUALIFY SGE FROM SERVING AS LEAD
18           COUNSEL HERE, AND IN FACT SGE HAS DEMANDED ROCHE FREEDMAN’S
             REMOVAL IN ALL CASES WHERE IT HAD ACTED AS CO-COUNSEL WITH
19           SGE
20           Prior to the filing of this action, and prior to SGE first becoming aware on August 28, 2022

21 of Kyle Roche’s inappropriate and shocking statements that led to his termination as counsel in

22 this action, SGE had acted as co-counsel with Roche Freedman in several crypto-related class

23 actions4 in the Southern District of New York pursuant to a Joint Prosecution Agreement (as

24

25   4
     Those actions are the following: In re Tether and Bitfinex Crypto Asset Litigation, 19-cv-09236
26 (S.D.N.Y.); Lee v. Binance, No. 20-cv-02803 (S.D.N.Y.); Clifford v. Tron Foundation, No. 20-cv-
   02804 (S.D.N.Y.); Zhang. v. HDR Global Trading Limited, No. 20-cv-02805 (S.D.N.Y.); Williams
27 v. KuCoin, No. 20-cv-02806 (S.D.N.Y.); Clifford v. Bibox Group Holdings Limited, No. 20-cv-
   02807 (S.D.N.Y.); Williams v. Block.One, No. 20-cv-02809 (S.D.N.Y.); Zhang v. BProtocol
28 Foundation, No. 20-cv-02810 (S.D.N.Y.); Zhang v. Civic Technologies, No. 20-cv-02811
   (S.D.N.Y.); Clifford v. KayDex Pte. Ltd., No. 20-cv-02812 (S.D.N.Y.); Williams v. Quantstamp,
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 1 amended) (“JPA”). Goldstein Decl. ¶ 9.5 When the revelations about Mr. Roche came to light,

 2 SGE requested that Roche Freedman voluntarily withdraw as counsel in all active cases in which

 3 Roche Freedman had appeared with SGE. When Roche Freedman refused, SGE sought for the

 4 district court to terminate Roche Freedman as class co-counsel in those cases.6

 5           SGE is not co-counsel with Kyle Roche; Roche Freedman; Freedman Normand Friedland;

 6 nor any of their current or former partners in any matter. Goldstein Decl. ¶ 10. SGE has had no

 7 dealings with Mr. Roche since September 2022 (i.e., immediately after the video recordings came

 8 to light), and SGE’s only dealings since then with Roche Freedman and Freedman Normand

 9 Friedland have been in connection, respectively, with seeking their withdrawal from prior matters

10 and seeking the client files in this action after SGE was retained by Messrs. Rodriguez and Valenti.

11 Goldstein Decl. ¶ 11.

12 VI.       SGE’S RULE 11 OBLIGATIONS
13           Immediately upon being retained by Messrs. Rodriguez and Valenti, SGE requested their

14 client files from Freedman Normand Friedland. Goldstein Decl. ¶ 11. Since that time, SGE has

15 continued to request the full client files, including evidentiary support for the allegations in the

16 Amended Complaint. To date, SGE has received support for some, but not all, of the allegations

17 in the Amended Complaint. Goldstein Decl. ¶ 12. In the event SGE is appointed lead counsel, SGE

18 will make a final attempt to obtain whatever remaining evidentiary support Freedman Normand

19 Friedland will provide, and then SGE will make a good faith determination as to which allegations

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   Inc. , No. 20-cv-02813 (S.D.N.Y.); Clifford v. Status Research & Development GmbH, No. 20-cv-
22 02815 (S.D.N.Y.); and Messieh v. HDR Global Trading Ltd., 20-cv-3232 (S.D.N.Y.).
     5
23   SGE believes that the JPA, to which Freedman Normand Friedland is not a party, does not apply
   to and has no bearing on this matter, which is materially different from any matter in which SGE
24 acted as co-counsel with Roche Freedman. If the Court wishes to review the terms of the JPA,
   SGE respectfully seeks leave to provide the JPA to the Court in camera.
25 6
     A copy of SGE’s requests to the district court seeking the termination of Roche Freedman as
26 class counsel in all active cases in which SGE had appeared with Roche Freedman is annexed to
   the Goldstein Declaration as Exhibits B–D. At the time Mr. Roche’s remarks came to light, the
27 Binance case was on appeal to the U.S. Court of Appeals for the Second Circuit. Lee v. Binance,
   No. 22-0972. Only SGE was counsel of record on appeal and Roche Freedman did not enter a
28 notice of appearance. Accordingly, SGE did not submit a letter to the Circuit concerning the
   removal of Roche Freedman in that appeal, which remains pending.
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 1 in the Amended Complaint should be modified based upon that factual record and will seek leave

 2 of the Court to amend the Amended Complaint accordingly.7

 3           In addition, SGE has closely reviewed the briefing of legal issues in Plaintiffs’

 4 Memorandum of Law in Opposition to Defendants’ Motion to Dismiss (“Plaintiffs’ MTD

 5 Opposition”) (Dkt. No. 65) to determine whether “the claims, defenses, and other legal contentions

 6 are warranted by existing law or by a nonfrivolous argument for extending, modifying, or reversing

 7 existing law or for establishing new law.” Fed. R. Civ. P. 11(b)(2). If appointed lead counsel, and

 8 consistent with SGE’s obligations under Rule 11, SGE intends promptly to seek the Court’s leave

 9 to withdraw certain legal arguments in Plaintiffs’ MTD Opposition.

10 VII.      CONCLUSION
11           For the above reasons, Rodriguez respectfully requests that this Court appoint SGE as lead

12 counsel for the Class.

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    SGE presumes that Defendants will not oppose the filing of such an amendment, as counsel for
27 Defendants  on August 14, 2023 contacted SGE to demand that SGE, if appointed lead counsel,
   withdraw any allegations in the Amended Complaint for which SGE lacks a Rule 11 basis. A copy
28 of Defendants’ letters and Plaintiffs’ response is annexed as Exhibits E–F to the Goldstein
   Declaration.
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 1   Dated:   August 25, 2023        Respectfully submitted,
 2
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                                     Attorneys for Henry Rodriguez and the Proposed Class
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